        Case 5:09-cv-00230-cr Document 582 Filed 11/25/14 Page 1 of 12

                                                                            U.S. DlSTf\iCT COURT
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                                                                                    F!L.ED
                          UNITED STATES DISTRICT COURT
                                                                          201~   NOV 25 PH    ~:   30
                                    FOR THE
                              DISTRICT OF VERMONT
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                                                                                 OEPUT       ERK
ALICE H. ALLEN, LAURANCE E. ALLEN,                      )
d/b/a Al-Iens Farm, GARRET SITTS, RALPH                 )
SITTS, JONATHAN HAAR, CLAUDIA HAAR,                     )
and RICHARD SWANTAK, on behalf of                       )
themselves and all others similarly situated,           )
                                                        )
                     Plaintiffs,                        )
                                                        )
              v.                                        )     Case No. 5:09-cv-230
                                                        )
DAIRY FARMERS OF AMERICA, INC., and                     )
DAIRY MARKETING SERVICES, LLC,                          )
                                                        )
                     Defendants.

  OPINION AND ORDER GRANTING IN PART RENEWED MOTION FOR
PRELIMINARY APPROVAL OF SETTLEMENT BETWEEN DAIRY FARMERS
  OF AMERICA, INC., DAIRY MARKETING SERVICES, LLC, AND DAIRY
      FARMER SUBCLASSES AND SETTING A FAIRNESS HEARING
                            (Doc. 580)

       This matter came before the court on the renewed motion of the DF A/DMS and
non-DF A/DMS subclasses (collectively, the "Dairy Farmers Subclasses") for preliminary
approval of a proposed settlement between the Dairy Farmers Subclasses and Defendants
Dairy Farmers of America, Inc. ("DF A") and Dairy Marketing Services, LLC ("DMS")
(the "Proposed Settlement"). (Doc. 580.) The Dairy Farmer Subclasses, through their
attorneys ("Subclass Counsel"), ask that in conjunction with preliminary approval, the
court approve their proposed notices to class members and set this matter for a hearing to
determine whether the Proposed Settlement is "fair, reasonable, and adequate" as
required by Fed. R. Civ. P. 23(e) (the "Fairness Hearing").
I.     Factual and Procedural Background.
       The Proposed Settlement requires Defendants DF A and DMS to make a payment
         Case 5:09-cv-00230-cr Document 582 Filed 11/25/14 Page 2 of 12




of $50 million dollars to class members in two installments, authorizes certain injunctive
relief, provides for incentive payments to Class Representatives in the amount of $20,000
per farm, and seeks a proposed attorney's fees award of$16.6 million, plus expenses,
which Defendants have agreed not to oppose. Based on the number of claims that may
be filed, the average payment per class member farm is estimated to be approximately
$4,000. In exchange, class members must agree to a broad release, releasing any claims
they have in this action, any claims which may have been brought in this action, and any
claims which in certain respects are related to this action against Defendants and other
entities with whom Defendants have a relationship. 1 The parties propose no further opt-
out period and oppose an expanded opportunity to opt in and join the class as
beneficiaries ofthe Proposed Settlement.
       The court initially denied preliminary approval without prejudice because the
proposed notices to class members required clarifications and because the court was
advised that the Class Representatives unanimously opposed the Proposed Settlement but
was not informed of the grounds for their opposition. (Doc. 569.) The court has since
reviewed in camera the Class Representatives' letter to the court which sets forth the
grounds for their opposition.
       The Class Representatives oppose the Proposed Settlement on procedural grounds,
asserting that Subclass Counsel entered into the Proposed Settlement without their
authority and without their consent. They oppose the Proposed Settlement on substantive
grounds, arguing that: ( 1) the class should be expanded to include all dairy farmers who
pooled their milk on Federal Milk Marketing Order 1; (2) the Proposed Settlement's
provisions governing injunctive relief are inadequate in both scope and duration; and (3)
a payment of$4,000 to each class member dairy farm does not approximate the Dairy
Farmer Subclasses' damages in this case and renders Subclass Counsel the primary
beneficiaries of this lawsuit. In this respect, they appear to contest the proposed
attorney's fee award for Subclass Counsel as excessive. Class Representatives will have

1
  The court directs class members attention to the proposed Release, itself, for the full extent of
the "Released Claims." (Doc. 580-2 at 6-7, ~~ 1.16-1.18.)


                                                 2
         Case 5:09-cv-00230-cr Document 582 Filed 11/25/14 Page 3 of 12




an opportunity to more fully voice the grounds for their opposition at a Fairness Hearing.
       Subclass Counsel counter that they conferred with and obtained authority from the
Class Representatives prior to entering into the Proposed Settlement and that, in any
event, no authority was necessary. They contend that no Class Representative objected to
the Proposed Settlement prior to its finalization and that, again, approval of the Proposed
Settlement by Class Representatives was not and is not required. They argue that the
monetary amount of the Proposed Settlement is sizable and properly reflects the strengths
and weaknesses of class members' claims and the risks of proceeding to trial. They
contend that the Proposed Settlement's injunctive relief is broader than the relief that
would have been available had class members prevailed at trial. Subclass Counsel point
out that approval of their proposed attorney's fees award is not part of their request for
preliminary approval.
       For the following reasons, the court concludes that the Proposed Settlement
satisfies the standards for preliminary approval and renders a Fairness Hearing
appropriate. The court further rules that an opt-out period and a re-definition of the class
are not warranted at this time, but that an expanded opportunity to opt in to the class
should be available. As Subclass Counsel advise that they do not seek preliminary
approval of their proposed attorney's fees award, the court does not address that request
at this time.
II.    Conclusions of Law and Analysis.
       A.       Authority to Settle and Opposition to the Proposed Settlement.
       As a threshold matter, Subclass Counsel are correct in pointing out that the case
law appears to permit them to settle a class action suit without authorization from class
representatives. See Kincade v. Gen. Tire & Rubber Co., 635 F.2d 501, 508 (5th Cir.
1981) (concluding cases "holding that an attorney cannot settle his individual client's
case without the authorization of the client are simply inapplicable" in a class action
"[b ]ecause of the unique nature of the attorney-client relationship in a class action" and
"because ... it may be impossible for the class attorney to do more than act in what he
believes to be the best interests of the class as a whole") (internal quotation marks and


                                              3
          Case 5:09-cv-00230-cr Document 582 Filed 11/25/14 Page 4 of 12




citations omitted). In addition, Subclass Counsel persuasively argue that a court may
grant preliminary and final approval of a settlement of a class action even if the class
representatives oppose it. See Charron v. Wiener, 731 F.3d 241,254 (2d Cir. 2013), cert.
denied, 134 S. Ct. 1941 (20 14) (holding that "the assent of class representatives is not
essential to the settlement, as long as the Rule 23 requirements are met") (citing, inter
alia, Kincade, 635 F.2d at 508 ("[T]he assent of named plaintiffs is not a prerequisite to
the approval of a settlement.") (internal quotation marks omitted)). This does not mean,
however, that the Class Representatives' opinions regarding the fairness, reasonableness,
and adequacy of the Proposed Settlement are irrelevant. To the contrary, the reaction of
the class to the Proposed Settlement remains an important consideration in determining
whether the Proposed Settlement should be approved. See Joel A. v. Giuliani, 218 F.3d
132, 138 (2d Cir. 2000) (noting one of the factors to evaluate whether a class action
settlement is fair, reasonable, and adequate is "the reaction of the class to the
settlement"); see also Kincade, 635 F.2d at 508 (noting that "the unanimous disapproval
of [a] settlement by the active named plaintiffs [is] a significant factor" in evaluating
whether to approve a settlement). This conclusion is underscored in the instant case
where the Class Representatives have actively participated in every stage of the litigation
and have a commendable understanding of both the facts and the law underpinning their
claims.
       B.     Preliminary Approval.
       "Preliminary approval of a class action settlement, in contrast to final approval, 'is
at most a determination that there is what might be termed probable cause to submit the
proposal to class members and hold a full-scale hearing as to its fairness.'" Menkes v.
Stolt-Nielsen S.A., 270 F.R.D. 80, 101 (D. Conn. 2010) (quoting In re Traffic Exec.
Ass 'n-E. R.R.s, 627 F .2d 631, 634 (2d Cir. 1980)). It is appropriate where the settlement
"is the result of serious, informed, and non-collusive negotiations, where there are no
grounds to doubt its fairness and no other obvious deficiencies ... , and where the
settlement appears to fall within the range of possible approval." Reade-Alvarez v.
Eltman, Eltman & Cooper, P.C., 237 F.R.D. 26, 33 (E.D.N.Y. 2006) (citations omitted).


                                              4
         Case 5:09-cv-00230-cr Document 582 Filed 11/25/14 Page 5 of 12




In making this determination, the court focusses on the "negotiating process" by which
the settlement was reached and on the reasonableness and "fairness" of its "substantive"
terms. Charron, 731 F .3d at 24 7. With regard to the latter, the court considers the
following:
       (1) the complexity, expense and likely duration ofthe litigation; (2) the
       reaction of the class to the settlement; (3) the stage of the proceedings and
       the amount of discovery completed; (4) the risks of establishing liability;
       (5) the risks of establishing damages; (6) the risks of maintaining the class
       action through the trial; (7) the ability of the defendants to withstand a
       greater judgment; (8) the range of reasonableness of the settlement fund in
       light of the best possible recovery; (9) the range of reasonableness of the
       settlement fund to a possible recovery in light of all the attendant risks of
       litigation.

City of Detroit v. Grinnell Corp., 495 F .2d 448, 463 (2d Cir. 197 4) (citations omitted)
(abrogated on other grounds by Goldberger v. Integrated Resources, Inc., 209 F.3d 43
(2d Cir. 2000)).
       In this case, the Proposed Settlement resulted from arms-length, non-collusive
negotiations on the eve of trial between experienced and fully-informed counsel. The
Proposed Settlement was preceded by years of discovery and motion practice, including
motions that addressed the merits ofthe parties' claims and defenses and the
admissibility of evidence at trial. Accordingly, the negotiations between Subclass
Counsel and Defendants' counsel satisfy the standards for preliminary approval with
regard to the procedure by which the Proposed Settlement was reached. As Subclass
Counsel point out, they did not require authority from or approval of the Class
Representatives before they agreed to the Proposed Settlement. 2
       The substantive terms of the Proposed Settlement present a closer question. As
the Class Representatives observe, a payment of $4,000 per dairy farm and limited
injunctive relief does not appear to approximate the full value of their antitrust claims.
However, the potential value of those claims must be juxtaposed against the legitimate


2
 For this reason, the court need not resolve the factual dispute between the Class Representatives
and Subclass Counsel regarding the circumstances that gave rise to the Proposed Settlement.


                                                5
         Case 5:09-cv-00230-cr Document 582 Filed 11/25/14 Page 6 of 12




risk of a defense verdict at trial. At the summary judgment stage, the court concluded
that the documentary proof of antitrust violations was not as compelling as Subclass
Counsel represented and in some respects did not provide evidence of a conspiracy. See
Allen v. Dairy Farmers ofAm., Inc., 2014 WL 2610613, at* 10-15 (D. Vt. June 11, 2014)
(reviewing evidence in support of Plaintiffs' monopsony conspiracy claims; noting "the
difficulty of accepting Plaintiffs' characterizations of the conspiracy's alleged
anticompetitive conduct at face value"; and observing that "several of Plaintiffs'
representations regarding the factual record are either problematic or unreliable" and
"may not support the full breadth of Plaintiffs' extensive conspiracy claims"). The court
therefore dismissed some claims and limited others. See id. at *7, * 16, *20, *26-28
(granting, among other things, Defendants' motion for summary judgment on Plaintiffs'
price-fixing claim and Plaintiffs' proffered geographic market definition which conflicted
with their expert's definition).
       Correspondingly, Defendants requested the court to exclude at trial the opinions of
Gordon Rausser, Ph.D., the class members' sole expert witness, and the court agreed that
certain aspects of Dr. Rausser's testimony were inadmissible. See Allen v. Dairy Mktg.
Servs., LLC, 2013 WL 6909953, at *13-15 (D. Vt. Dec. 31, 2013) (excluding certain
damages calculations offered by Plaintiffs' expert witness), and Allen v. Dairy Farmers
ofAm., Inc., 2014 WL 2040133, at *4, *8 (D. Vt. May 16, 2014) (granting motion to
strike expert's revision of damages).
       Finally, as some of the alleged conspiracy's conduct took place outside the statute
of limitations period, class members' ability to present this conduct to the jury faced
almost certain challenges from Defendants at trial and required a strong factual record
before a jury could impose liability and award damages for conduct beyond the
limitations period. See Allen v. Dairy Farmers ofAm., Inc., 2014 WL 2610613, at *21-
28 (D. Vt. June 11, 2014) (addressing theories on which Plaintiffs rely in arguing they
could recover damages beyond the limitations period provided in 15 U.S.C. § 15b; noting
that it may prove difficult for certain Plaintiffs to establish at trial that they were unaware
of the nature and existence of their potential claims during the pre-limitations time


                                               6
         Case 5:09-cv-00230-cr Document 582 Filed 11/25/14 Page 7 of 12




period; and granting in part Defendants' motion for summary judgment with regard to
certain damages theories).
       On balance, a total monetary payment of $50 million falls within a reasonable
range of potential outcomes when considered in the context of the legitimate risk of a
defense verdict. Moreover, because class members have limited their request for
injunctive relief to only "conduct found by the Court or jury to be illegal," the equitable
relief set forth in the Proposed Settlement is broader than the scope of the equitable relief
that may have been ordered by the court.
       The parties' joint request that there be no period to opt out of the class for
purposes of the Proposed Settlement reflects the late stage in the case in which the
settlement was reached and the ample opportunity that class members had to opt out of
the class before that stage was reached. See Wal-Mart Stores, Inc. v. Visa U.S.A., Inc.,
396 F.3d 96, 114 (2d Cir. 2005) (rejecting argument that class "was denied due process
because class members were not given the opportunity to opt out after the settlement
notice was issued," and relying on Class Plaintiffs v. City ofSeattle, 955 F.2d 1268, 1289
(9th Cir. 1992), which held, "[ s]ince the parties had been given notice of the action, the
opportunity to opt out, notice of the proposed settlement, and the opportunity to object,
... [the district court] was not required to grant those who objected to the proposed
settlement a second opportunity to opt out"); see also In re Joint E. & S. Dist. Asbestos
Litig., 78 F.3d 764, 778-79 (2d Cir. 1996) (affirming denial ofmotion to opt out of
proposed settlement because movants "received the protections accorded by Fed. R. Civ.
P. 23," and concluding that, "[i]fthe procedural requirements of that Rule were satisfied,
the [district courts] would be entitled to approve a settlement over the objection of those
who were denied the opportunity to opt out of the class") (internal quotation marks
omitted). While re-definition of the class is not warranted at this late juncture, the court
agrees with the parties' joint request that individuals who previously have opted out be
permitted to opt back in to the class for purposes of settlement. (Doc. 580-1 at 15.)
       Although the Class Representatives assert that the proposed attorney's fees award
is excessive in light of class members' modest recovery, the parties have properly


                                              7
        Case 5:09-cv-00230-cr Document 582 Filed 11/25/14 Page 8 of 12




committed the issue of the appropriate attorney's fees award to the court's discretion.
(See Doc. 580-1 at 26.) See Goldberger v. Integrated Res., Inc., 209 F.3d 43, 47 (2d Cir.
2000) ("[T]he fees awarded in common fund cases may not exceed what is reasonable
under the circumstances. What constitutes a reasonable fee is properly committed to the
sound discretion of the district court[.]") (internal quotation marks and citations omitted);
accord Wal-Mart Stores, Inc., 396 F.3d at 121 (2d Cir. 2005) (addressing attorney's fees
sought in a class action settlement in an antitrust case and noting that the '"Goldberger
factors' ultimately determine the reasonableness of a common fund fee").
       Because preliminary approval is only "the first step in the settlement of a class
action" to "preliminarily determine" whether to authorize notice and schedule a hearing,
Lizondro-Garcia v. Kefi LLC, 300 F.R.D. 169, 179 (S.D.N.Y. 2014) (internal quotation
marks omitted), this step "requires only an initial evaluation of the fairness of the
proposed settlement." At a Fairness Hearing, in contrast, the court must conduct a full
"evidentiary hearing ... to determine the fairness and adequacy of settlement," at which
time the Class Representatives and class members will have the opportunity to fully voice
their opinions regarding whether the Proposed Settlement is fair, reasonable, and
adequate. !d. (internal quotation marks and citations omitted); see also Authors Guild v.
Coogle, Inc., 2009 WL 4434586, at* 1 (S.D.N.Y. Dec. 1, 2009) (noting "nuances" are to
be considered at and after the fairness hearing and after all interested parties "have had
the opportunity to make their views known"). For these reasons, the court GRANTS the
motion for preliminary approval.
       C.     The Proposed Notices.
       As part of preliminary approval of a proposed settlement of a class action lawsuit,
a "court must direct notice in a reasonable manner to all class members who would be
bound by the proposal." Fed. R. Civ. P. 23(e)(l). The notice must be "reasonably
calculated, under all the circumstances, to apprise interested parties of the pendency of
the action and afford them an opportunity to present their objections." Mullane v. Cent.
Hanover Bank & Trust Co., 339 U.S. 306,314 (1950). The notice "must express no
opinion on the merits of the settlement," Handschu v. Special Servs. Div., 787 F.2d 828,


                                              8
        Case 5:09-cv-00230-cr Document 582 Filed 11/25/14 Page 9 of 12




833 (2d Cir. 1986), and "need not include the entire text of the proposed settlement but
may describe it in general terms." Id.
       Subclass Counsel has submitted a draft "Notice of Proposed Settlement" (the
"draft Notice") and a "Summary Notice of Proposed Settlement" (the "draft Summary
Notice") which contain most of the clarifications the court sought in previously denying
preliminary approval. However, the draft Notice attached to the renewed motion differs
in some respects from the proposed notices attached to Subclass Counsel's earlier
submission in response to the court's denial without prejudice of their motion for
preliminary approval. (Doc. 570.) Two issues require further clarification. First,
Subclass Counsel's initial submission explained that the proposed notice had been
revised to clarify that the settlement excludes, inter alia, "current and former" officers
and directors ofDFA, DMS, and other entities. (Doc. 570 at 6.) The draft Notice
attached to the renewed motion, however, provides that only "the current officers and
directors of' DFA, DMS, and other entities are excluded from the Settlement. (Doc. 580-
4 at 5.) It is therefore unclear whether the draft Notice is meant to exclude current and
former officers and directors of Defendants and related entities. Second, because the
draft Notice attached to the pending motion explains only that "Subclass Representatives
oppose the Settlement" (Doc. 580-4 at 5), a copy of this Opinion and Order shall be
attached to the Notice and posted on the class action website to advise class members of
the grounds for that opposition.
       With these minor clarifications, the draft Notice and Summary Notice provide
class members ''with a fair understanding of the action, the parties, and the nature of the
settlement, by asking and answering questions that putative settlement class members
might have." Allen v. Dairy Farmers ofAm., Inc., 2011 WL 1706778, at* 11 (D. Vt.
May 4, 2011 ). The draft Notice and Summary Notice are therefore reasonable and
"adequate" to apprise class members of the Proposed Settlement and "the consequences
of taking, or not taking, action in response." In reAm. Exp. Fin. Advisors Sec. Litig., 672
F .3d 113, 130 (2d Cir. 2011) (concluding notice was sufficient when "contain[ ed] a list of
readable questions and answers discussing the content of the Class Action and the


                                              9
        Case 5:09-cv-00230-cr Document 582 Filed 11/25/14 Page 10 of 12




consequences of taking, or not taking, action in response" and "offered advice from class
counsel, provid[ed] lawyers' contact information and instruct[ed] class members to
contact them should the content of the Class Notice be unclear"); see also Wal-Mart
Stores, Inc., 396 F .3d at 113 ("The standard for the adequacy of a settlement notice in a
class action ... is measured by reasonableness. . . . Notice is adequate if it may be
understood by the average class member.") (internal quotation marks and citations
omitted).
       Accordingly, the court GRANTS approval of the draft Notice and Summary
Notice to class members and ORDERS that this Opinion and Order must accompany the
draft Notice and be posted on the class action website to more fully apprise the class
members of the nature and extent of the court's approval and the position of their Class
Representatives.
       D.     Method of Disseminating Notice and Deadlines.
       Subclass Counsel propose that notice to the class be provided in three ways. First,
the Notice will be mailed to each member "whose identities and locations are reasonably
ascertainable, which may be satisfied by sending the Notice to the addresses of potential
Subclass members compiled in the course of the Dean settlement and class notice, plus
any additional identified potential Subclass members." (Doc. 580-3 at 3.) Second, the
Summary Notice will be published in the next available issues of American
Agriculturalist, Country Folks (Eastern edition), Farming: The Journal ofNortheast
Agriculture, and Progressive Dairyman (Northeast edition). Third, the Proposed
Settlement Agreement, Notice, and the court's Opinion and Order will be posted on the
class action website maintained by the Claims Administrator.
       Subclass Counsel further propose the following deadlines for dissemination of
notice, settlement administration, and the Fairness Hearing: (1) Notice and Summary
Notice must be mailed and published, respectively, as soon as practicable following the
issuance of this Opinion and Order; (2) requests for permission to opt back in to the class
must be filed 14 days before the Fairness Hearing; (3) claims forms and/or objections
must be filed 14 days before the Fairness Hearing; (4) requests to be heard at the Fairness


                                             10
        Case 5:09-cv-00230-cr Document 582 Filed 11/25/14 Page 11 of 12




Hearing must be filed 14 days before the Fairness Hearing; (5) any motion for final
approval and responses to objections must be filed 7 days before the Fairness Hearing;
and (6) the court set a Fairness Hearing. The procedures for submitting requests to opt
back in to the class, claims forms, objections, and requests to be heard are explained in
the draft Notice.
       In light of these proposals, the court finds that the manner and method for
dissemination of Notice and Summary Notice and the deadlines for responses are
reasonable and sufficient to both apprise the class of the pendency of the Proposed
Settlement and the Fairness Hearing and to afford class members an opportunity to
present their objections. See Hecht v. United Collection Bureau, Inc., 691 F.3d 218, 224
(2d Cir. 20 12) (directing that "the notice provided to absent class members" is "measured
by reasonableness" and "must be the best practicable, reasonably calculated, under all the
circumstances, to apprise interested parties of the pendency of the action") (internal
quotation marks and citations omitted).
       The court therefore AUTHORIZES dissemination of notice and deadlines in
accordance with the proposals set forth above. The Fairness Hearing is set for January
29, 2015.
                                     CONCLUSION
       For the foregoing reasons, the court GRANTS preliminary approval of the
Proposed Settlement, but DECLINES to grant preliminary approval of the attorney's fees
request. The court ORDERS that no further opt out period and a re-definition of the class
are warranted at this time; however, the court ORDERS that class members who
previously opted out of the class may seek to opt back in to the class for purposes of
settlement.
       With the corrections noted herein, the court GRANTS approval of the draft Notice
and Summary Notice and ORDERS that this Opinion and Order accompany the draft
Notice. The court further AUTHORIZES dissemination of Notice and publication of
Summary Notice in accordance with this Opinion and Order, and the court ORDERS that
Notice and Summary Notice be mailed and published, respectively, as soon as practicable


                                             11
       Case 5:09-cv-00230-cr Document 582 Filed 11/25/14 Page 12 of 12




following the issuance of this Opinion and Order. The court ORDERS that requests for
permission to opt back in to the class be filed 14 days before the Fairness Hearing; that
claims forms and/or objections be filed 14 days before the Fairness Hearing; that requests
to be heard at the Fairness Hearing be filed 14 days before the Hearing; and that any
motion for final approval and responses to objections be filed 7 days before the Fairness
Hearing.
       The court SCHEDULES the Fairness Hearing for January 29, 2015 to
determine whether the Proposed Settlement is fair, reasonable, and adequate.
       Because the remainder of the relief sought in the renewed motion is more
appropriately addressed following the Fairness Hearing, the court DENIES all remaining
requests in the renewed motion WITHOUT PREJUDICE.
SO ORDERED.                                                      Ji.-.
       Dated at Burlington, in the District of Vermont, this ,?)day ofNovember, 2014.




                                                 Christina Reiss, Chief Judge
                                                 United States District Court




                                            12
